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                                     UNITED STATES COURT OF APPEALS                          FILED
                                            FOR THE NINTH CIRCUIT                             MAY 8 2025
                                                                                          MOLLY C. DWYER, CLERK
                                                                                           U.S. COURT OF APPEALS
              RUBEN POGHOSYAN,                                   No. 25-2835
                                                                 D.C. No.
                              Plaintiff - Appellant,             2:25-cv-03091-SB-ADS
                                                                 Central District of California,
                v.                                               Los Angeles
              UNITED STATES DEPARTMENT OF                        ORDER
              HOMELAND SECURITY; et al.,

                              Defendants - Appellees.

              Before: W. FLETCHER and CALLAHAN, Circuit Judges.

                        The motion (Docket Entry No. 3) for injunctive relief is denied. See 8 U.S.C.

              § 1252(g); Rauda v. Jennings, 55 F.4th 773, 776-78 (9th Cir. 2022).

                        The existing briefing schedule remains in effect.
